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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

                    Plaintiff(s),


 v.                                                   Case No. 04-80335
                                                      Honorable Victoria A. Roberts


 KEITH BERNELL LAWSON,
 aka Brute,

                 Defendant(s).
 _____________________________________________________________________


       OPINION AND ORDER ADOPTING REPORT AND RECOMMENDATION
               TO DENY DEFENDANT’S MOTION TO SUPPRESS


 I.    INTRODUCTION

       This matter arises from Defendant’s objection to the Report and

 Recommendation (R&R) from Magistrate Morgan denying the Defendant’s Motion to

 Suppress. For the following reasons, this Court ADOPTS the Report and

 Recommendation.



 II.   BACKGROUND

       As part of an ongoing investigation, the home located at 14056 Evergreen was

 searched which uncovered evidence against the Defendant. The Defendant was



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 subsequently arrested and charged with conspiracy to distribute marijuana. The

 Defendant alleges there was no probable cause for the search warrant issued for 14056

 Evergreen.

        Agents were first alerted to possible drug activity of the Defendant and his

 alleged coconspirator Eric Hall (AKA Eric Woodley), via a routine traffic stop in Arizona.

 An individual, referred to as DEA-1, was stopped while driving an RV through Camp

 Verde, Arizona. Upon inspection, the RV was found to contain approximately 180 lbs.

 of marijuana. DEA-1 admitted to possession and agreed to cooperate with authorities,

 informing them that the marijuana was destined for Eric Hall in Detroit.

        DEA-1 stated to authorities that he delivered marijuana to Hall at 14056

 Evergreen approximately three weeks earlier, and picked up a large sum of money from

 the same address, two months prior to that delivery. Authorities conducted a controlled

 delivery of the marijuana to Eric Hall. There were several recorded telephone

 conversations between DEA-1 and Hall and between DEA-1 and Defendant. Authorities

 also established surveillance at 14056 Evergreen. Upon arrival in Detroit, DEA-1

 contacted Hall and was instructed to deliver the marijuana to 14238 Dale, less than

 three miles from 14056 Evergreen. Hall and another individual were arrested at 14238

 Dale. According to the affidavit supporting the search warrant, DEA-1 stated that Hall

 was planning to move the marijuana to another location, possibly 14056 Evergreen.

 Following the arrest of Hall, authorities obtained a search warrant for 14056 Evergreen.

        A.     Motion to Suppress

        The Defendant filed his motion on June 9, 2005. He argued that the warrant was

 facially deficient because it lacked probable cause. The Defendant claimed speculation

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 and unsubstantiated conclusions by the affiant, Agent Feld, were the basis of the

 warrant. Specifically, the Defendant argued there was no probable cause to believe the

 marijuana was destined for 14056 Evergreen. Moreover, the Defendant argued that it

 was a general warrant prohibited by the 4th Amendment because it was overly broad.

 Alternatively, the Defendant sought an evidentiary hearing, pursuant to Franks v.

 Delaware, 438 U.S. 154 (1979), because the affidavit did not include the actual address

 where the marijuana was delivered, instead referring to “a secondary location, near

 14056 Evergreen.”

        B.     Government’s Response to Motion to Suppress

        The Government responded that there was probable cause to search the home.

 It contends that even if there was no probable cause to believe the shipment delivered

 to 14238 Dale was headed for 14056 Evergreen, there was probable cause to search

 14056 Evergreen based on the non-drug evidence that would be located there. The

 Government contends 14056 Evergreen was the “home base” for Hall and the

 Defendant. It points to the “ongoing manner of operation” as evidenced by the prior

 deliveries by DEA-1, and the attestations of Agent Feld (Government’s response p. 5).

 Alternatively, the Government contends that the exclusionary rule does not apply based

 on the good-faith exception established in U.S. v. Leon, 468 U.S. 897 (1984).

        The Government disagreed that the warrant was overly broad. It claimed that

 “each category is qualified as to its relationship with the illegal activity” (Government’s

 response p. 7). Further, the Government argues that the Defendant is not entitled to a

 hearing pursuant to Franks, because he has not demonstrated that any statements in

 the affidavit were knowingly and intentionally false or reckless, or that the allegedly false

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 information was essential to the probable cause determination.

         C.    Report and Recommendation

         The Report and Recommendation urges denial of the motion to suppress. The

 magistrate found that there was probable cause for the search of 14056 Evergreen

 based on the informant’s previous deliveries to the address and the surveillance of Hall

 and the Defendant at the location which evidenced their participation in drug trafficking

 business. The magistrate conceded that the affidavit was poorly drafted, but that taken

 as a whole “the facts alleged show more than a fair probability that contraband or

 evidence would be found at the location” (R&R p. 4). The magistrate also found that

 use of the phrase “near 14056 Evergreen” rather than 14238 Dale, was not knowingly

 false or a reckless disregard for the truth because it was roughly 2.2 miles away. Lastly,

 the magistrate concluded it was not a general warrant; while the list of items was

 lengthy, each was shown to have a relationship to the illegal activity described in the

 affidavit.



 III.    ARGUMENTS OF THE PARTIES

         A.    Defendant’s Objections

         The Defendant’s objections to the R&R reiterated his initial arguments. The

 Defendant argues there was no probable cause to search 14056 Evergreen because it

 was mere speculation that the controlled shipment of marijuana was destined for that

 address. Defendant points out that the magistrate stated that the possibility that

 marijuana was going to be delivered to the 14056 Evergreen address would not be



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 grounds for a search warrant. Additionally, the Defendant claims that Agent Feld’s use

 of the word “near 14056 Evergreen” rather than using the actual address where the

 marijuana was delivered was an attempt to detract from the lack of probable cause. He

 contends that this entitles him to a Franks hearing. Lastly, the Defendant states that it

 was a general warrant based on the large amount of information authorized to be seized

 in the search.

           B.    Government’s Response to Defendant’s Objections

           The Government filed an untimely response to the Defendant’s objections which

 restated its previous arguments. The Government stresses that the affidavit did not rely

 on the probability that the marijuana delivered by DEA-1 was destined for 14056

 Evergreen, but rather on the information as a whole. The Government cites the

 previous deliveries of DEA-1, the recorded conversations and the surveillance. The

 warrant was based on the probability that non-drug evidence would be found at that

 location. The Government also argued that the magistrate was correct in determining

 that a Franks hearing was inappropriate based on the Government’s use of the word

 “near.”



 IV.       ANALYSIS

           This Court adopts the Report and Recommendation. There was probable cause

 to support a search of 14056 Evergreen based on the informant’s tip and police

 corroboration and investigation, notwithstanding the speculative nature of the ultimate

 destination of the marijuana. The Defendant is not entitled to a Franks hearing because



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 there were no knowing or reckless false statements, and the statement relied on by the

 Defendant to support a Franks hearing is not essential to the probable cause

 determination. Lastly, the warrant was particularized and did not constitute a general

 warrant.

        A.     Standard of Review

        The district court must make a de novo determination of motions to suppress

 evidence. U.S. v. Curtis, 237 F.3d 598, 603 (6th Cir. 2001).

        B.     Probable Cause

        There was probable cause to support the issuance of a search warrant for 14056

 Evergreen. “No Warrants shall issue, but upon probable cause, supported by Oath or

 affirmation, and particularly describing the place to be searched, and the persons or

 things to be seized.” U.S. Const. amend. IV.

               The requirement that a warrant be supported by specific evidence
               of criminal activity before being issued is deeply rooted in our
               history...probable cause exists when there is a fair probability, given
               the totality of the circumstances, that contraband or evidence of a
               crime will be found in a particular place...[m]oreover, where an
               affidavit is the basis for a probable cause determination, that
               affidavit must provide the magistrate with a substantial basis for
               determining the existence of probable cause.


 U.S. v. Helton, 314 F.3d 812, 819 (6th Cir. 2003)(citation omitted).

        The search warrant was issued for 14056 Evergreen because there was

 probable cause that it was a base of operations for narcotic distribution. Authorities

 received a tip from a confidential informant that he recently made a pickup of a large

 sum of cash from and delivered a large quantity of drugs to the address. The informant



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 also stated that the large quantity of narcotics he was currently delivering was to the

 same person, Eric Hall. In an attempt to corroborate the assertions of the informant,

 authorities monitored phone calls which confirmed that the informant was delivering the

 marijuana to the named individual, Eric Hall. Further, authorities surveilled Mr. Hall’s

 home and determined that Mr. Hall and the Defendant were associated with the 14056

 Evergreen address. Probable cause generally exists to search for the “fruits and

 instrumentalities of criminal activity” at the residence of a drug dealer with continual or

 ongoing operations. U.S. v. Newton, 389 F.3d 631, 636 (6th Cir. 2004). Probable cause

 requires “only a probability or substantial chance of criminal activity, not an actual

 showing of such activity.” Illinois v. Gates, 462 U.S. 213, 244 n. 13 (1983).

        If the search warrant was obtained solely on the probability that the apprehended

 shipment of marijuana was destined for 14056 Evergreen, there would not have been

 probable cause. However, the search warrant did not rest on this. The search warrant

 was based on the corroborated tip that several drug transactions had taken place at

 14056 Evergreen and the operation was currently ongoing, since another delivery for

 Eric Hall was en route.

        The Supreme Court established a totality of the circumstances test for

 determining whether probable cause has been established based on an informant’s tip.

 U.S. v. Smith, 182 F.3d 473, 477-478. Veracity, reliability and basis of knowledge are

 highly relevant considerations. Id. at 477. However, because it is a totality of the

 circumstances approach, a deficiency in one area may be compensated for by a strong

 showing in another. Id. at 478. “The duty of a reviewing court is simply to ensure that

 the magistrate had a substantial basis for concluding that probable cause existed.” Id.

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        Based on the totality of the circumstances here, the self-incriminating admissions

 of the informant, the corroboration of the details by the authorities and the experience

 and knowledge of the affiant, there was probable cause to issue a search warrant for

 14056 Evergreen.

        C.     Particularity

        “General warrants that fail to describe with particularity the things to be searched

 for and seized create a danger of unlimited discretion in the executing officer’s

 determination of what is subject to seizure and a danger that items will be seized when

 the warrant refers to other items. However, the degree of specificity required is flexible

 and will vary depending on the crime involved and the types of items sought. Thus a

 description is valid if it is as specific as the circumstances and the nature of the activity

 under investigation permit.” U.S. v. Henson, 848 F.2d 1374, 1382-1383 (6th Cir.

 1988)(citations omitted).

        In Henson, supra, the court upheld a warrant using generic terms for officers to

 search for information concerning an odometer tampering scheme. “Where the precise

 identity of goods cannot be ascertained at the time the warrant is issued, naming only

 the generic class of items will suffice.” Id. at 1383.

        In this case, the items to be seized were qualified as to their relationship with the

 illegal activity described in the affidavit and thus were sufficiently particularized in light of

 the circumstances.

        D.     Evidentiary Hearing

        The Defendant claims he is entitled to a hearing pursuant to Franks v. Delaware,



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 438 U.S. 154 (1979). The Defendant asserts that the authorities used the word “near”

 in the affidavit rather than inserting the actual address of the marijuana delivery to

 detract from any indication that probable cause may not exist.

        “Under Franks, a defendant must satisfy a two-prong test to obtain an evidentiary

 hearing. First, a defendant must make a ‘substantial preliminary showing that specified

 portions of the affiant’s averments are deliberately or recklessly false.’ The second

 prong of the Franks test requires a court to find that the challenged statements are

 necessary to a finding of probable cause. If exclusion of the inaccurate statement

 would leave the affidavit with insufficient content to establish probable cause, then the

 warrant is invalid.” U.S. v. Hill, 142 F.3d 305, 310 (6th Cir. 1998)(citations omitted).

        The Defendant failed to make a showing that the Government’s use of the word

 “near” to designate a location 2.2 miles away in a city the size of Detroit, was

 deliberately or recklessly false. Poor draftsmanship does not satisfy the Franks

 requirement. U.S. v. Charles, 138 F.3d 257, 264 (6th Cir. 1998). Additionally, even if

 the use of the word “near” was knowingly or recklessly false, exclusion of the statement

 that the current shipment of marijuana was headed for a place near 14056 Evergreen

 would not negate the existence of probable cause because probable cause was not

 dependent upon that particular shipment of marijuana; the totality of the circumstances,

 as discussed above, establishes the existence of probable cause. Therefore,

 Defendant failed to demonstrate entitlement to a Franks hearing.



 V.     CONCLUSION



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        For the foregoing reasons, this Court ADOPTS the Report and

 Recommendation; Defendant’s Motion to Suppress is DENIED.

 IT IS SO ORDERED.


                                                  S/Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge

 Dated: September 19, 2005

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  September 20, 2005.

  s/Carol A. Pinegar
  Deputy Clerk




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